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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

   
 

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RADCLIFFE, CHESTER CARTER, Case No. 05-<v-01070-DOCIM Eg
ARNOLD LOVELL, Jr., CLIFTON C. f
SEALE, II and ALEX GIDI, et al,
DECLARATION OF
Plaintiffs, JOHN ULZHEIMER IN
SUPPORT OF PLAINTIFFS’
v. MOTION FOR CLASS
CERTIFICATION
EXPERIAN INFORMATION
SOLUTIONS, INC.,
Defendant.
JOSE HERNANDEZ, et al., Case No. 06-cv-03924-DOC/MLG
aintiffs,
Plaintiff DECLARATION OF
JOHN ULZHEIMER IN
v. SUPPORT OF PLAINTIFFS’
MOTION FOR CLASS
EXPERIAN INFORMATION CERTIFICATION
SOLUTIONS, INC.,
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I, John Ulzheimer, declare that:

1. I have been retained to provide an opinion in connection with
plaintiffs’ motion for class certification in the above-referenced action. I make the
following representations on the basis of my own personal knowledge. If called as
a witness, I could and would competently testify to the matters stated herein.

I. My Professional Background

2. All that I state will be based on my 15 years of experience in the
consumer credit reporting and consumer credit scoring industries.

3. I spent seven (7) years with Equifax Credit Information Services
and spent several of those years as an Assistant Manager of a team of consumer
service agents, which handled thousands of consumer contacts (both telephone and
mail) on a daily basis.

4. The majority of the consumer contacts were challenges (disputes)
to what they believed to be inaccurate information residing on their credit files. My
role and that of my subordinates was to interview the consumer and capture the
specifics regarding their dispute, enter that information into Equifax’s computer
systems, generate verification forms which were sent to the furnishers of the
challenged credit report information, manually input the responses we received
back from the data furnishers specific to the challenged credit report information,
update the consumer’s credit file based on the direction of the data furnisher and
then mail the consumer an updated current copy of their credit report.

5. Lalso spent 6 years and 11 months at the Fair Isaac Corporation.
Fair Isaac is best known for their work in credit risk score development. Their core
product, the “FICO” Credit Score, is widely known in the consumer credit and
lending environment and is by far the dominant credit risk score used in those
industries.

6. My role at Fair Isaac included consulting with their credit

reporting agency partners, lenders and consumers on all aspects of credit scores. I

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also spent time developing credit bureau scorecards, which are the heart of the
credit scoring models. I am well versed on credit model design, development as
well as the use of these models in the financial service and insurance industries. I
understand exactly what causes credit scores to be good, bad or average. Because
of my experience with both credit reports and credit scores, my level of expertise in
the consumer credit arena can best be described as unique. It’s because of the
unique blending of these two disciplines (credit reporting and credit scoring) that I
was tapped as one of the very few people at Fair Isaac who was allowed to speak to
the media as a quotable source of information as a representative of the company. I
was also one of less than a dozen people in a company of 2400 who were allowed
to speak on behalf of the company to trade groups, members of government,
consumer groups, partners and clients as an educational speaker on the topic of
credit scoring.

7. Ihave made no less than 500 credit reporting and credit scoring
presentations during the past 15 years. These presentations were of varying levels
of complexity and were delivered to consumers and consumer groups, credit
counselors, credit reporting agencies, nationally recognized lenders, members of the
press, financial planners, members of Congress and banking authorities.

8. Iam currently the President of Credit.com Educational Services,
a credit education company. My responsibilities are to hold educational forums
where we teach credit challenged consumers how to re-enter the consumer credit
environment with a better understanding of what lenders and insurance companies
expect from them from a credit risk perspective. I also contribute to our sister
company’s credit related blog at www.creditbloggers.com.

9. [teach an ongoing class on credit reporting and credit scoring at
Emory University in Atlanta, Georgia and have been a guest lecturer on the same
topics at the University of Georgia, LaGrange College and the Westminster School,
which is also located in Atlanta, Georgia.

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10. Ialso volunteer my time to teach credit reporting and credit
scoring basics on behalf of the Georgia Consortium For Personal Financial Literacy
and others who they try and reach through their non-profit efforts.

11. In addition to the above, I also have appeared on CNN to discuss
credit reporting and credit scoring, have written and ghost written books and
product manuals on the same and am frequently interviewed and quoted by both the
print and online credit and finance media.

12. [have served as an expert witness in two other cases as an expert
for the credit industry. This is my first time as an expert serving a plaintiff. One of
the two cases was settled before being tried and the other is still pending.

II. Opinion

13. My review of countless examples of credit files that have
Chapter 7 bankruptcy filings noted in the Public Records section indicates that a
great many of them contain dischargeable credit accounts (commonly referred to as
“trade lines”), collections and other pre-bankruptcy debts as still due and owing. It
is my understanding that plaintiffs’ counsel have reviewed more than 2,800 such
credit reports and have discovered that the error rates in reporting the status of pre-
bankruptcy debts is comparable for all three of the major credit reporting agencies.
Assuming that is correct and based on my first-hand experience with this problem
while at Equifax, it is my belief that Experian likely receives many thousands of
consumer disputes each year that are specifically targeted at having incorrectly
reported pre-bankruptcy debts reported as due and owing in one manner or another,
rather than as being discharged or included in the bankruptcy.

14. Based on my experience in the consumer credit industry and my
familiarity with the vast capabilities of the computer systems used by the major
credit reporting agencies, it is my opinion that Experian likely has the ability to

identify those individuals: (a) who have obtained Chapter 7 discharge orders since

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1995; and (b) whose dischargeable debts have been reported as due and owing in
one or more credit reports issued since March 2002.

15. Experian has sophisticated computer systems that I believe are
capable of being programmed to systemically fix misreporting of pre-bankruptcy
dischargeable debts, that this could be done at a reasonable cost, and that much, if
not all, of this cost would be recaptured over time by reducing reinvestigation costs
and improving consumer sentiment toward the company.

16. Experian has the ability to program its computer systems to
identify which debts pre-date a bankruptcy filing. I believe that it also has the
ability to program its computer systems to identify which of these pre-bankruptcy
debts are non-dischargeable in the large majority of cases and to sort those non-
dischargeable debts out from the dischargeable ones.

17. Ihave reviewed METRO 2 format for credit reporting and would
note that using that format Experian codes debts by category, including categories
that correspond to the vast majority of debts that are non-dischargeable by nature
(e.g., student loans, child support payments, tax liens, efc.). It is my opinion,
therefore, that Experian is able to identify these debts through computer search
programs and to separate them from debts that are dischargeable.

18. Itis also my understanding that information relating to whether
debts have been reaffirmed in a reaffirmation agreement or successfully challenged
in an adversary proceeding is available from PACER (where it is in computer
readable form). It is my further understanding that Experian, either directly or
through a third party vendor, obtains information relating to the existence of
bankruptcy filings and discharge orders from PACER. It is my opinion, therefore,
that Experian could easily retrieve information relating to the existence of debts that
have been reaffirmed or successful challenged through PACER and could program
their computers to separate these non-dischargeable from those that are
dischargeable.

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19. As an alternative or supplemental way of solving any
misreporting problems, Experian can implement a policy that mandates that it
reverse its default handling in regard to the reporting of discharged debts. It is my
understanding that Experian relies on information obtained from data furnishers to
update the status of accounts that have been “included in bankruptcy”.

20. Itis my opinion that reversing the default would result in far
greater accuracy than the present system because the number of debts that are
discharged by a Chapter 7 bankruptcy discharge order vastly exceeds the number of
debts that are non-dischargeable. Under this revised reporting procedure, Experian
would update its consumer credit files accordingly and maintain that information
until its data furnishers inform it that the debt has been reaffirmed or was
successfully challenged as part of the bankruptcy or was otherwise non-
dischargeable as a matter of law, thus shifting the burden to the furnishers to
provide information showing that a particular debt has not been discharged.

21. The improper reporting of discharged debts as due and owing has
an adverse affect on any credit bureau based risk score, making it much more
difficult for consumers to rebuild and re-establish their credit. The adverse impact
could result from the misreporting of even one tradeline. This adverse impact will
vary from consumer to consumer. For one person the adverse impact under FICO
could be ten (10) credit score points, for another it could be twenty (20) credit score
points, and for others it could be still more.

22. The impact to a consumer’s bottom line even with a minor
improvement in their credit score can be significant. In 2005, the Consumer
Federation of America and Providian Financial commissioned a study whereby they
concluded “if consumers were to raise their credit scores by 30 points, on average,
they would save $16 billion on lower credit card finance charges alone.” Assuming
that the study even remotely reflects the reality of finance savings for consumers if

they can raise their credit scores by “an average” of 30 points, then even consumers

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who are able to improve their scores by 5, 10 or 15 points will likely realize true
financial savings. This is true in many cases but especially so for higher risk
borrowers, like those who have filed for bankruptcy, since all lenders and insurance
companies use a tiered based method of assigning interest rates, loan terms or

premiums.

 

I state the above opinions with a significant degree of confidence and
certainty.

Signed and sworn to under the penalties of perjury under the laws of
the United States this the [ytHay of February, 2007, in Atlanta, Georgia.

 

 

kK. DECLARATION OF JOHN ULZHEIMER

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